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                                          U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                       November 29, 2021

BY ECF

Hon. George B. Daniels
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007

           Re:       United States v. Fatima Woods, 18 Cr. 423 (GBD)

Dear Judge Daniels:

        The defendant in the above-captioned case is scheduled to be sentenced on November 30,
2021 at 10:00 a.m. Pursuant to a Pimentel letter dated May 10, 2021, the Guidelines Range in this
case is 135 to 168 months’ imprisonment. The Guidelines Range calculated in the Presentence
Investigation Report (“PSR”), dated August 3, 2021, is the same. For the reasons set forth below,
the Government submits that a sentence within the Stipulated Guidelines Range is appropriate in
this case.

     I.           Procedural Background
        Fatima Woods was arrested on May 16, 2018. She was presented on Complaint 18 Mag.
4256 on May 17, 2018, which charged her in one count with participating in a conspiracy to
distribute and possess with intent to distribute oxycodone, in violation of Title 21, United States
Code, Section 846. On June 14, 2018, Woods was charged with the same offense in Indictment
18 Cr. 423. Woods pled guilty to Count One of the Indictment pursuant to a Pimentel letter on
May 12, 2021.
     II.          Offense Conduct
       If this case had proceeded to trial, the Government’s evidence would have included text
messages, GPS tracker data, pharmacy records, state prescription records, surveillance video, and
victim doctor testimony, among other forms of evidence.

        This evidence would establish that from at least in or about 2013 and continuing through
her arrest in May 2018, the defendant conspired with a pharmacist (Victor LaPerla) and a pharmacy
employee (Bianca Martinez), and others known and unknown, to obtain fraudulently dispensed
oxycodone prescriptions from a pharmacy in Queens, New York (the “Queens Pharmacy”).
LaPerla and Martinez have been charged in a separate New York State criminal case (the “State

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Criminal Case”) for their respective roles in the conspiracy. As detailed below, Woods is
responsible for hundreds of thousands of fraudulently obtained oxycodone tablets with an
estimated street value of well over $4 million.
       a. Woods’s arrest
        Woods was arrested on May 16, 2018 in the parking lot leaving the area of the Queens
Pharmacy. On the day of her arrest, Woods drove her vehicle from her home in New Jersey,
through Manhattan, to the Queens Pharmacy. The Government tracked Woods using a GPS
tracker on her cellphone (ending in the numbers 4576). At approximately the same time that
Woods’s cellphone arrived in the vicinity of the Queens Pharmacy, surveillance video at the
pharmacy showed Woods’s vehicle drive past the front entrance, and a black male—later identified
as her brother, Kareem Sulaiman—enter the pharmacy. DEA agents observed Sulaiman leave the
Queens Pharmacy a short time later carrying a white plastic shopping bag. Law enforcement
agents stopped Woods’s vehicle after it had left the Queens Pharmacy. Woods and Sulaiman were
both in the car. Law enforcement agents searched the car and recovered Woods’s cellphone, along
with the shopping bag that Sulaiman had taken from the Queens Pharmacy, which was found to
contain six unlabeled, amber-colored bottles of pills containing a total of approximately 1,090
tablets of 30 mg oxycodone.
        The Government’s evidence establishes that Woods sent her brother into the pharmacy on
May 16, 2018 to pick up oxycodone from LaPerla and/or Martinez, and that Woods had been
engaged in a years-long conspiracy with LaPerla and Martinez to traffic in illegal oxycodone.
With respect to the events of May 16, 2018, WhatsApp messages recovered from Martinez’s phone
show that in the hours prior to Woods’s arrest, Woods messaged Martinez falsely claiming that
she was stuck in Philadelphia due to weather. In fact, Woods was in the New York area. Woods
asked Martinez if there was “Anyway you can take things with you,” but Martinez replied that
“Vic [i.e. Victor Laperla] won’t allow.” Woods then told Martinez that she “sent her brother”
because neither she nor her “partner” were available. Woods provided Martinez with a description
of her brother. Martinez instructed Woods that “He has to come in” and “just let [sic] know he is
picking up for nicole.” As discussed further below, “Nicole” is the name that Martinez and LaPerla
used to refer to Woods. Martinez next messaged “Ok he picked up,” to which Woods replied
“wheew thank GOD” and “Thank you and V so much.” Woods was arrested a short time later
with oxycodone that her brother had picked up from the Queens Pharmacy in her vehicle. Her
brother was not charged.
       b. Woods’ role in the conspiracy

      Woods’s role in the conspiracy with LaPerla and Martinez was two-fold. First, Woods would
obtain stolen blank paper prescriptions and furnish them, populated with fake patient information,
to LaPerla and/or Martinez. Second, after LaPerla filled the fraudulent oxycodone prescriptions,
Woods (or someone sent to the Queens Pharmacy on her behalf) would pick up the oxycodone,
which Woods paid for in cash. Woods also tracked fake patient information and due dates for their
fraudulent prescriptions, and at times consulted with Martinez about which fake patients’
prescriptions were due. For example, the WhatsApp messages recovered from Woods’s phones
include the following messages with Martinez:




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                  •   In June 2017, Martinez told Woods she was “Going over ordering now” and
                      asked Woods to “Look at 5/3” (i.e. a May 3rd order). Woods confirmed
                      “ketoconazole 200 mg 30 tabs.” Martinez responds “Done yes” and “He said
                      45.” Subsequent messages refer to this “he” as “V,” believed to be Victor
                      LaPerla.

                  •   In July 2017, Woods told Martinez “I think I should mention the 9 to V” and
                      “He made a mistake (again) but I shouldn’t.” In these messages, Woods
                      appears to be referring to the fact that Victor LaPerla made a mistake in
                      filling her prescriptions and either shorted her or gave her an extra by
                      mistake.

                  •   In July 2017, Martinez messaged Woods to say “Hey just want to let you
                      know there was 4 picked up,” and Woods responds “Ok !! How many papers
                      does he need?” Martinez later responds “4 and 6 for the future.” These and
                      similar messages discussed below evidence Martinez/LaPerla requesting
                      Woods to furnish paper prescriptions.

                  •   In September 2017, Woods commented to Martinez “I’m sure he needs
                      paper.” Martinez responded “He said yes” and “he is all set and ready and
                      yes he needs for next ones.” Woods replied “My cousin is coming by then
                      I’ll be over with paper.”

                  •   Also in September 2017, Woods told Martinez that envelopes she left for
                      Martinez and LaPerla had “paper in one and 6800 in another” / “All hundreds
                      . . I took it out of the bank.”

                  •   In October 2017, Woods told Martinez “I know he needs more paper” / “how
                      many” and Martinez responded “8.”

                  •   In December 2017, Woods told Martinez “I’m sure he needs paper . . . but
                      would you be able to write who’s due”? Martinez responded “I’ll try but
                      your good for this week.”

                  •   In January 2018, Woods told Martinez “I dropped paper off with v but I
                      know it wasn’t enuff” / “I didn’t want to duplicate any.”

                  •   Also in January 2018, Woods asked Martinez “And how many paper do you
                      need.” Martinez responded “6.” Woods later wrote “Do you think v can
                      leave things with you tomorrow . . .” / “by the time I have all the paper from
                      last week and 2 weeks forward it will be time for you to close.” Also in
                      January 2018, Woods told Martinez “I’m coming with paper by 6.”

                  •   In February 2018, Woods told Martinez “I’m going to bring the paper today.”




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                  •   In April 2018, Woods told Martinez “I spoke to V” and “I dropped papers to
                      him yesterday.” Woods noted “I couldn’t get my hands on paper it was
                      stressing me out.”

                  •   Also in April 2018, Woods told Martinez “I’m going to ask him to double
                      this week since he can’t back track and see that this week we are 1 behind.”
                      Martinez responded “Now what I don’t get is the 20 rx. He isn’t noting that.”
                      Woods later asked “Did he use all the papers I gave him?” Martinez
                      responded “Tom and Thursday.”

                  •   Later in April 2018, Woods asked Martinez “Was the papers I gave good,”
                      and Martinez responded “Hey yes.” Woods later asked “Can you let me
                      know who’s due . . . or print the full papers out as you did before.”

                  •   In May 2018, before her arrest, Woods asked Martinez to “Ask v what’s the
                      balance.” Martinez responded “You are good for this week and next” / “with
                      what was picked up today 217” / “60.” Woods responded “Ok” / “With
                      paper?” and Martinez replied “Yes.”

The WhatsApp messages recovered from Woods’s phone also include May 2018 messages with a
contact named “Destiny Moore” in which Woods asked Moore “if you can get more paper” and
Moore responded “I’ll ask.” Woods’s WhatsApp Messages with Moore also included a
photograph of a blank paper prescription.

      With respect to the fake patients that Woods used on the fraudulent prescriptions she
submitted to the Queens Pharmacy, the Notes file on Woods’s cellphone shows that she tracked
the names, as well as some dates of birth prescription information for these fake patients. These
notes files were created between May 2015 and October 2016.

      Woods’s role in the conspiracy is further confirmed by a search that was conducted at the
Queens Pharmacy. As part of the State Criminal Case, a search was conducted at the Queens
Pharmacy in or about May 2018. During the course of that search, approximately 24 paper
prescriptions were located in a workspace belonging to LaPerla. These paper prescriptions were
written for 180 tablets of oxycodone 30 mg and were purportedly signed either by Elena Ocher,
M.D. or by Mark Gladstein, M.D. The prescriptions were filled out in the names of 18 separate
“patients.” The names and dates of birth of these purported “patients” have been searched in law
enforcement databases and do not appear to belong to any real person. Dr. Ocher and Dr. Gladstein
have also been interviewed and denied having any patients with those names and dates of birth
and denied signing the prescriptions at issue. Of the 18 fake patients whose names appear on the
paper prescriptions found in LaPerla’s workspace, 16 of their names (or close
misspellings/variations on their names) appear in “Notes” entries on Woods’s cellphone.

       In sum, the foregoing establishes that Woods’s role in the conspiracy included obtaining
and furnishing stolen paper prescriptions to LaPerla/Martinez, which Woods would provide to
them as requested; that Martinez acted as a go-between passing messages between Woods and
LaPerla; that LaPerla used the fraudulent prescriptions to dispense oxycodone illegally; that


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Woods or someone acting at her direction would pick up the fraudulently dispensed oxycodone
tablets from LaPerla/Martinez at the Queens Pharmacy; and that Woods paid for these drugs in
cash payments.

       c. Time period of relevant conduct
       The Indictment charges Woods with engaging in an oxycodone trafficking conspiracy from
November 2017 through May 2018. The relevant conduct spans from at least in or about July
2013 through Woods’s arrest in May 2018.
        The Government’s evidence that Woods participated in the charged conspiracy as early as
July 2013 and continuing through her arrest includes the following. As part of its investigation,
the Government obtained the contents of LaPerla’s cellphone, including his communications with
Woods. Woods’s known cellphone number (646-404-4576) is saved in LaPerla’s cellphone under
the contact name “Nicole.” LaPerla’s communications with Woods stopped on May 22, 2018—
several days after Woods’s arrest. The calendar section of LaPerla’s cellphone first references
“Nicole” (i.e. Woods) on or about July 24, 2013. Beginning on or about August 9, 2013, LaPerla’s
calendar entries include what appear to be drug ledgers reflecting the delivery of prescription drugs
to “Nicole” in exchange for cash payments.
          For example, LaPerla’s calendar entry for August 9, 2013 reads as follows:




                  Similarly, the “Notes” section of LaPerla’s section contains an entry titled “Nicole
                                         2/1/14” that reads as follows:




The “Notes” section of LaPerla’s phone also contains an entry titled “Nicole 6/22/14” containing
what appears to be a drug ledger entries for transactions between LaPerla and Woods spanning
from June 2014 through May 2018. The complete text of that entry appears at Exhibit A. Among
other things, this ledger includes:

      •   Entries referring to how much “paper” (i.e. paper prescriptions) LaPerla needs from Woods
      •   References to how many “rx’s” (i.e. prescriptions) LaPerla “gave” to Woods
      •   How many “tablets” (i.e. oxycodone tablets) that LaPerla “owe[s]” Woods
      •   How much money Woods paid to LaPerla
      •   The “Balance” of payments that Woods owed to LaPerla


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       d.Drug weight attributable to Woods

       To calculate the drug weight attributable to Woods, the Government did the following. Using
the New York State Bureau of Narcotics Enforcement prescription database, the Government ran
the names of all the fake patients that Woods tracked on her cellphone. That search identified 35
distinct patient names that appeared on Woods’s cellphone (including the exact name and minor
spelling variations) that had been used on prescriptions filled at the Queens Pharmacy during the
time period of Woods’s involvement, i.e. from July 2013 through May 2018. The prescriptions
identified as a result of these searches identified that these 35 fake patients had a total of
approximately 128,455 tablets of 30 mg oxycodone, or a total of 3,854 grams of oxycodone, filled
at the Queens Pharmacy, on approximately 714 prescriptions purportedly issued by just three
prescribing doctors. As noted above, two of those physicians were interviewed and have denied
having any of these fake patients as patients and denied signing the prescriptions at issue.
Prescriptions purportedly issued by the third doctor include prescriptions that were taken from the
same serialized prescription pad as the other two victim doctors, indicating those prescriptions
were also stolen. At an estimated average street value of $30 per tablet of 30 mg oxycodone, these
pills have a total estimated street value of $4,495,275.

      The high volume of pills attributable to the defendant’s drug operation is confirmed by the
drug ledger in LaPerla’s cellphone, described above. According to that ledger, the defendant made
a total of $1,071,710 in payments to LaPerla as of her arrest, and owed an outstanding balance of
$17,960. In total, the defendant therefore obtained $1,089,670 in 30 mg oxycodone tablets from
the Queens Pharmacy, at a bulk rate of approximately $8.48 per pill (based on the total above of
128,465 pills). Based on their training and experience in prior oxycodone investigations, one or
more DEA agents would testify that a bulk rate of approximately $8.48 per 30 mg oxycodone
tablet is a reasonable markup for the bulk sale of fraudulently diverted oxycodone (which would
have been purchased at a much lower wholesale price by the Queens Pharmacy).

     III.         Guidelines Calculation
         As set forth in the Government’s Pimentel letter, based on the offense conduct described
above, the Guidelines calculation is as follows. Based on converted drug weight of 25,821
kilograms (3,854 grams of oxycodone x 6,700 grams of converted drug weight), the base offense
level is 34, because the offense involved at least 10,000 kilograms, but less than 30,000 kilograms,
of converted drug weight. After acceptance of responsibility, the adjusted offense level is 31.
Based on a Criminal History Category of III, as calculated based on the offenses set out in the
Government’s Pimentel letter, the Guidelines range is 135 to 168 months’ imprisonment.
     IV.          A Guidelines Sentence is Appropriate Given the Seriousness of the Offense
                  Conduct and the Defendant’s Criminal History

            A. Applicable Law

        Although United States v. Booker held that the Guidelines are no longer mandatory, it also
held that they remain in place and that district courts must “consult” the Guidelines and “take them
into account” when sentencing. 543 U.S. 220, 264 (2005). As the Supreme Court stated, “a district


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court should begin all sentencing proceedings by correctly calculating the applicable Guidelines
range,” which “should be the starting point and the initial benchmark.” Gall v. United States, 552
U.S. 38, 49 (2007).

        After that calculation, a sentencing judge must consider seven factors outlined in Title 18,
United States Code, Section 3553(a): (1) “the nature and circumstances of the offense and the
history and characteristics of the defendant;” (2) the four legitimate purposes of sentencing, as set
forth below; (3) “the kinds of sentences available;” (4) the Guidelines range itself; (5) any relevant
policy statement by the Sentencing Commission; (6) “the need to avoid unwarranted sentence
disparities among defendants;” and (7) “the need to provide restitution to any victims.” 18 U.S.C.
§ 3553(a)(1)-(7); see also Gall, 552 U.S. at 50 & n.6.

        In determining the appropriate sentence, the statute directs judges to “impose a sentence
sufficient, but not greater than necessary, to comply with the purposes” of sentencing, which are:

          (A)     to reflect the seriousness of the offense, to promote respect for the law, and to
                  provide just punishment for the offense;
          (B)     to afford adequate deterrence to criminal conduct;
          (C)     to protect the public from further crimes of the defendant; and
          (D)     to provide the defendant with needed educational or vocational training, medical
                  care, or other correctional treatment in the most effective manner.

18 U.S.C. § 3553(a)(2).

          B. Discussion

       The 18 U.S.C. § 3553(a) factors particularly applicable here include the need for the
sentence to reflect the nature and seriousness of the offense, to promote respect for the law, to
provide just punishment for the offense, to afford adequate deterrence to criminal conduct to the
defendant and those similarly situated, and to protect the public from the defendant’s years-long
pattern of criminal activity. These considerations weigh in favor of a sentence within the
Guidelines Range of 135 to 168 months’ imprisonment.

         A sentence within the Guidelines Range would appropriately reflect the nature and
seriousness of the defendant’s conduct, provide just punishment for the offense, and deter the
defendant and others who are similarly situated. The defendant participated in a years-long scheme
to acquire and sell millions of oxycodone 30 mg tablets. As the Court is well aware, oxycodone
and other opioids are highly addictive and dangerous painkillers at the heart of an overdose crisis
in this country. The defendant played a pivotal role in pedaling these dangerous drugs. As detailed
above, Woods not only acquired blank, stolen prescription pads that could be used to illegally
dispense oxycodone without a valid prescription—a hugely serious crime in and of itself, which
undermines the integrity of our healthcare system and the safeguard put in place to protect against
the unfettered dealing of dangerous opioids—but purchased in excess of $1 million, or
approximately 128,455 pills, in fraudulently dispensed oxycodone 30 mg tablets from her co-
conspirators at the Queens Pharmacy. Woods took several steps to avoid detection in this scheme,
including by using the name “Nicole” as a pseudonym when picking up fraudulently issued


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oxycodone prescriptions, and using third parties such as her brother to make the physical pick-ups
from the Queens Pharmacy. The staggering drug quantities that Wood dealt in are established by
a mountain of evidence in this case, including ledgers on Woods’s own cellphone, a ledger
maintained by her co-conspirator, and the prescription weights attributable to the fake patient
names used by Woods. Indeed, the scope of Woods’s conduct is confirmed by the facts of her
arrest in 2018: in one day, in one drug pick-up from her co-conspirators, the defendant had acquired
1,090 tablets of 30 mg oxycodone. Multiply that weight over the course of five years, and the
scope of the defendant’s crime becomes apparent.

         It is also plain from the defendant’s criminal history that her prior terms of probation and
imprisonment have been insufficient to deter her from future criminal conduct. 1 Specifically, the
defendant was previously sentenced to: (1) one year of imprisonment on a 2012 conviction for
possession of a forged instrument; (2) 70 days’ imprisonment, after violating the terms of her
community-based supervision on a six-year suspended sentence, on a 2010 charge for grand
larceny; and (3) 70 days’ imprisonment, after violating the terms of her community-based
supervision on a 30-day suspended sentence, on a 2009 charge for giving a false identity to a law
enforcement officer—as well as additional sentences that did not count toward her criminal history
calculation. The facts underlying Woods’s 2012 conviction are particularly relevant here. As
described throughout, the defendant’s current oxycodone trafficking scheme involved fraudulent
prescriptions written on the prescription pads of three victim doctors, and prescriptions filled at
the Queens Pharmacy from 2013 to 2018. In her prior case, the defendant was arrested in 2011 in
possession of a forged oxycodone prescription purportedly signed by a fourth victim
doctor. According to New York State pharmacy records, no prescription signed by that fourth
victim doctor has ever been filled at the Queens Pharmacy. Accordingly, the defendant’s
fraudulent possession of that doctor’s prescription in 2011 evidences her involvement in a separate,
earlier oxycodone scheme not involving her co-conspirators at the Queens Pharmacy or the victim
doctors whose names were fraudulently used at the Queens Pharmacy. Despite being sentenced
in 2012 to a one-year term of imprisonment for her involvement in that prior scheme, the defendant
began her involvement in the current scheme in 2013 and continued for five years until her arrest
in this case. Her most recent, very serious conduct must be met with a concomitantly significant
punishment that deters the defendant from future similar conduct, particularly in light of this
criminal history.

     V. Conclusion

        For the reasons set forth above, the Government respectfully requests that the Court impose
a sentence within the Stipulated Guidelines Range of 135 to 168 months’ imprisonment, as such a



1
  Furthermore, the defendant’s latest attempts to withdraw her guilty plea suggests that she has
failed to accept responsibility for her conduct, a concerning sign that she may re-offend particularly
if not adequately deterred by a serious term of imprisonment. Depending on the defendant’s
conduct at sentencing, the Government reserves the right to argue that the Guidelines calculation
should indeed be even higher because the defendant is not entitled to credit for acceptance of
responsibility.


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sentence would be sufficient but not greater than necessary to serve the legitimate purposes of
sentencing.

                                                   Respectfully submitted,

                                                   DAMIAN WILLIAMS
                                                   United States Attorney


                                           By:     /s/
                                                   Ryan B. Finkel
                                                   Jessica Greenwood
                                                   Assistant United States Attorney
                                                   (212) 637-6612 / 1090

Cc: Mitchell Elman, Esq. (by ECF)




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                                          EXHIBIT A:
                              VICTOR LAPERLA CELLPHONE
                     Note # 121 – Created 11/1/2015, Last Modified 5/18/2018




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